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Kara Janssen

From:           M        J               (          )

Sent Date:      Thursday, January 4, 2024 9:20 PM

To:             kjanssen@rbgg.com

Subject:        RE: Today and Tomorrow


They took me today and had me setting there all them hours I'm not coming tomorrow that's to much I'm not
understanding why they took me today if they wasn't going to see me
-----Janssen, Kara on 1/4/2024 7:51 AM wrote:

>

They are going to bring you tomorrow, not today, because of various scheduling reasons. If you have any
questions feel free to call me on the legal line at 12pm again. If you do not have questions I will see you
tomorrow.

Best,

Kara




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